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UN|TED STATES OF A|V|ER|CA, W,D. C}l¢ “i`a“\l. MEI\.:‘:PHlS

P|aintitf,

VS.
CR. NO. 05-200‘|3-5
l\/||CHAEL CASEY,

Detendants.

 

ORDER ON CONT|NUANCE AND SPEC|FYING PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on l\/iay 31 , 2005. At that time, counsel for the

defendant requested a continuance for change of plea.

The Court granted the request and set the change of plea date for Thursda}i¢l
June 9, 2005 at 9:00 a.m., in Courtroom 1, 11th F|oor of the Federa| Buiiding, l\/lemphis,
TN.

Time Was previously excluded through June 17, 2005 under 18 U.S.C.

§ 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional time to

prepare outweigh the need for a sp y tria|.

|T |S SO ORDERED this day Of June, 2005.

/M

J. D N|EL BREEN
U ED STATES D|STR|C JUDGE

 

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DISIC COURT - WESRNTE D's'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 25 in
case 2:05-CR-200]3 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

